                        IN THE UNITED STATES DISTRICT COURT
                       FOR THE EASTERN DISTRICT OF TENNESSEE
                                GREENEVILLE DIVISION


                                        )
IN RE SOUTHEASTERN MILK                 )
ANTITRUST LITIGATION                    )          Master File No. 2:08-MD-1000
____________________________________)
                                        )         Judge J. Ronnie Greer
THIS DOCUMENT RELATES TO:               )
                                        )
Sweetwater Valley Farm, Inc., et al. v. )
Dean Foods, et al., No. 2:07-CV-208     )
____________________________________)


        DAIRY FARMER PLAINTIFFS’ EXPEDITED MOTION FOR PRELIMINARY
        APPROVAL OF PROPOSED SETTLEMENT WITH DEAN FOODS COMPANY


       Dairy Farmer Plaintiffs request that the Court grant preliminary approval under Federal Rule of

Civil Procedure 23(e) of the proposed settlement agreement (“Settlement Agreement”) reached between

Plaintiffs and Defendant Dean Foods Company (“Dean”). The terms of the agreement are memorialized

in the Settlement Agreement, which is attached as Exhibit A to the accompanying memorandum in

support of Plaintiffs’ motion. Plaintiffs also request that the Court approve the proposed form of the

Notice of Proposed Settlement (“Notice”) to be sent by U.S. Mail to the Class Members and the

proposed Summary Notice of Proposed Settlement (“Summary Notice”) to be published to the Class

Members. The proposed Notice and Summary Notice are attached as Exhibits B and Exhibit C,

respectively, to the accompanying memorandum in support of Plaintiffs’ motion.

       Plaintiffs move for preliminary approval of the Settlement Agreement because, as required by

Federal Rule of Civil Procedure 23(e), the settlement is fair, reasonable, and adequate to the Class




                                     1
Case 2:08-md-01000-JRG Document 1603 Filed 07/12/11 Page 1 of 20 PageID #: 37514
Members. Therefore, pursuant to Paragraph 2.1 of the Settlement Agreement, Plaintiffs move for entry

of a Preliminary Approval Order providing that, inter alia:

           1. the Settlement is preliminarily approved and is sufficiently fair, reasonable and adequate
              to authorize dissemination of notice of the settlement to the Class Members;

           2. the form and content of the Notice and Summary Notice are approved;

           3. the proposed dissemination of the Notice and Summary Notice constitutes the best notice
              practicable under the circumstances, is due and sufficient notice and complies fully with
              the requirements of Federal Rule of Civil Procedure 23 and the due process requirements
              of the Constitution of the United States;

           4. no additional opt-out period is warranted or required by Rule 23(e)(4) of the Federal
              Rules of Civil Procedure;

           5. any person who timely requested exclusion from the Class may apply to the Court to be
              reinstated to the Class by setting forth the reasons for seeking reinstatement in a
              document filed through the Court’s ECF system at least fourteen (14) days prior to the
              Fairness Hearing;

           6. any Class Member who objects to the settlement must do so in writing no less than
              fourteen (14) days prior to the Fairness Hearing;

           7. any Class Member who wishes to be eligible for a payment as a result of the Settlement
              shall file a claim form provided with the Notice no less than fourteen (14) days prior to
              the Fairness Hearing;

           8. Class Counsel shall file with the Court, and serve upon counsel of record, the necessary
              papers to show compliance with the Notice Plan and the Court’s Order as well as any
              other materials Class Counsel wishes the Court to consider at least seven (7) days prior to
              the Fairness Hearing;

           9. any Class Member who seeks to appear and be heard at the Fairness Hearing shall
              provide notice to the Clerk of the Court and to Counsel of record at least fourteen (14)
              business days prior to the Fairness Hearing;

           10. the Fairness Hearing concerning the proposed settlement will occur on [date] at [time] at
               [location];

           11. all claims against Dean are severed and all proceedings against Dean except those
               proceedings provided for or required by the Settlement Agreement are stayed;

           12. the Settlement Fund as set forth in the Settlement Agreement is a “Qualified Settlement



                                     2
Case 2:08-md-01000-JRG Document 1603 Filed 07/12/11 Page 2 of 20 PageID #: 37515
               Fund” pursuant to Treas. Reg. §1.468B-1, and Class Counsel and their designees are
               authorized to use up to $50,000 of the Settlement Fund to give notice of the Settlement to
               Class Members and for settlement administration costs, up to $10,000 of the Settlement
               Fund for escrow agent costs, and such amount of the Settlement Fund as is required to
               pay taxes on income earned on the Settlement Fund, with prior notice to Defendants;

           13. Rust Consulting, Inc. is appointed as Claims Administrator for purposes of notice and
               administration of the settlement with Dean, and JPMorgan Chase Bank, National
               Association shall serve as the escrow agent in connection with the Settlement Fund
               described in Paragraph 7.1 of the Settlement Agreement, and

           14. Plaintiffs and members of the Class are preliminarily enjoined from the initiation,
               commencement or prosecution of any Released Claim by any of the Releasing Parties.

       In light of upcoming pretrial and trial deadlines, Plaintiffs request that this motion be decided on

an expedited basis.


  Dated: July 12, 2011                        Respectfully submitted,

                                              /s/Robert G. Abrams
  Thomas C. Jessee, Esq.                      Robert G. Abrams, Esq.
  Jessee & Jessee                             Robert J. Brookhiser, Esq.
  412 East Unaka Ave.                         Gregory J. Commins, Jr., Esq.
  Johnson City, TN 37601                      Terry L. Sullivan, Esq.
  jjlaw@jesseeandjessee.com                   Baker & Hostetler LLP
  Liaison Counsel for Dairy Farmer Class      1050 Connecticut Ave., NW, Suite 1100
                                              Washington, DC 20036
                                              rabrams@bakerlaw.com
                                              rbrookhiser@bakerlaw.com
                                              gcommins@bakerlaw.com
                                              tsullivan@bakerlaw.com
                                              Lead Counsel for Dairy Farmer Class




                                     3
Case 2:08-md-01000-JRG Document 1603 Filed 07/12/11 Page 3 of 20 PageID #: 37516
                   IN THE UNITED STATES DISTRICT COURT
                  FOR THE EASTERN DISTRICT OF TENNESSEE
                           GREENEVILLE DIVISION


                                        )
IN RE SOUTHEASTERN MILK                 )
ANTITRUST LITIGATION                    )   Master File No. 2:08-MD-1000
____________________________________)
                                        )   Judge J. Ronnie Greer
THIS DOCUMENT RELATES TO:               )
                                        )
Sweetwater Valley Farm, Inc., et al. v. )
Dean Foods, et al., No. 2:07-CV-208     )
____________________________________)



           MEMORANDUM IN SUPPORT OF DAIRY FARMER PLAINTIFFS’
        EXPEDITED MOTION FOR PRELIMINARY APPROVAL OF SETTLEMENT
                       WITH DEAN FOODS COMPANY




Case 2:08-md-01000-JRG Document 1603 Filed 07/12/11 Page 4 of 20 PageID #: 37517
        Pursuant to Federal Rule of Civil Procedure 23, Dairy Farmer Plaintiffs respectfully request that

the Court grant preliminary approval of the proposed settlement between Plaintiffs and Dean Foods

Company (“Dean”). The Settlement Agreement, attached as Exhibit A, would provide an excellent

result for Southeast dairy farmers and should receive the Court’s preliminary approval so that the Class

Members have an opportunity to evaluate the Agreement.

I.      INTRODUCTION

        After four years of hard-fought litigation, years of mediation, and arm’s-length negotiations

occurring over several months, Plaintiffs and Dean have reached a proposed settlement to resolve all of

the Class Members’ claims against Dean in this litigation. In exchange for release of those claims, Dean

will make settlement payments totaling up to one hundred forty million dollars ($140,000,000) over the

next four years.1

        This substantial settlement represents a fair and reasonable resolution of Class Members’ claims

and warrants the Court’s preliminary approval so that it may be presented to the Class. The Court’s

preliminary approval does not constitute final approval of the Settlement Agreement, but merely

authorizes Class Counsel to present the offer to the Class and begins the process for evaluation by the

Class and the Court for final approval. See Fed. R. Evid. 23(e); Manual for Complex Litigation (MCL

4th), § 21.633 (4th ed. 2004).     Thus, Plaintiffs move for entry of a Preliminary Approval Order

providing that, inter alia:

            1. the settlement is preliminarily approved and is sufficiently fair, reasonable and adequate
               to authorize dissemination of notice of the settlement to the Class Members;


1 The Settlement Agreement provides that Dean will make an initial payment of $60,000,000 within
five business day of the Court’s entry of preliminary approval of the settlement offer and subsequently
will pay $20,000,000 within five business days of each of the first, second, third, and fourth
anniversaries of entry of the Judgment dismissing the Action.




Case 2:08-md-01000-JRG Document 1603 Filed 07/12/11 Page 5 of 20 PageID #: 37518
        2. the form and content of the Notice of Proposed Settlement (“Notice”) and Summary
           Notice of Proposed Settlement (“Summary Notice”) are approved;

        3. the Notice and Summary Notice constitute the best notice practicable under the
           circumstances, are due and sufficient notice and comply fully with the requirements of
           Federal Rule of Civil Procedure 23 and the due process requirements of the Constitution
           of the United States;

        4. no additional opt-out period is warranted or required by Rule 23(e)(4) of the Federal
           Rules of Civil Procedure;

        5. any person who timely requested exclusion from the Class may apply to the Court to be
           reinstated to the Class by setting forth the reasons for seeking reinstatement in a
           document filed through the Court’s ECF system at least fourteen (14) days prior to the
           Fairness Hearing;

        6. any Class Member who objects to the settlement must do so in writing no less than
           fourteen (14) days prior to the Fairness Hearing;

        7. any Class Member who wishes to be eligible for a payment as a result of the Settlement
           shall file a claim no less than fourteen (14) days prior to the Fairness Hearing;

        8. Class Counsel shall file with the Court, and serve upon counsel of record, the necessary
           papers to show compliance with the Notice Plan and the Court’s Order as well as any
           other materials Class Counsel wishes the Court to consider at least seven (7) days prior to
           the Fairness Hearing;

        9. any Class Member who seeks to appear and be heard at the Fairness Hearing shall
           provide notice to the Clerk of the Court and to Counsel of record at least fourteen (14)
           business days prior to the Fairness Hearing;

        10. the Fairness Hearing concerning the proposed settlement will occur on [date] at [time] at
            [location];

        11. all claims against Dean are severed and all proceedings against Dean except those
            proceedings provided for or required by the Settlement Agreement are stayed;

        12. the Settlement Fund as set forth in the Settlement Agreement is a “Qualified Settlement
            Fund” pursuant to Treas. Reg. §1.468B-1, and Class Counsel and their designees are
            authorized to use up to $50,000 of the Settlement Fund to give notice of the Settlement to
            Class Members and for settlement administration costs, up to $10,000 of the Settlement
            Fund for escrow agent costs, and such amount of the Settlement Fund as is required to
            pay taxes on income earned on the Settlement Fund, with prior notice to Defendants;

        13. Rust Consulting, Inc. is appointed as Claims Administrator for purposes of notice and



                                     2
Case 2:08-md-01000-JRG Document 1603 Filed 07/12/11 Page 6 of 20 PageID #: 37519
               administration of the settlement with Dean, and and JPMorgan Chase Bank, National
               Association shall serve as the escrow agent in in connection with the Settlement Fund
               described in Paragraph 7.1 of the Settlement Agreement; and

            14. Plaintiffs and members of the Class are preliminarily enjoined from the initiation,
                commencement or prosecution of any Released Claim by any of the Releasing Parties.

II.    BACKGROUND

       A.      Description of the Litigation

       Plaintiffs brought a class action alleging that Defendants, including Dean, unlawfully conspired

and refused to compete for the purchase of raw Grade A milk produced, marketed, and processed in the

Southeast, restricted farmers’ access to raw Grade A milk bottling plants in the Southeast, eliminated

and stifled competition from cooperatives and Grade A milk bottlers; monopsonized and monopolized

raw Grade A milk and milk marketing services in the Southeast, and engaged in other unlawful activities

designed to artificially and anti-competitively fix, stabilize, and depress the prices paid for raw Grade A

milk purchased from Plaintiffs. Plaintiffs contend that Defendants’ actions violated Sections 1 and 2 of

the Sherman Act. See 15 U.S.C. §§ 1 & 2. Defendants – including Dean – deny that they violated the

Sherman Act as alleged by Plaintiffs.

       The initial complaints in this matter were filed on July 5, 2007. Since then, the parties engaged

in approximately four years of intensive litigation. Voluminous written discovery requests were served

on the parties and third parties. Millions of pages of documents were produced and reviewed. More

than 150 depositions were taken by the parties. Dozens of motions to compel and other similar

discovery disputes were litigated before the Magistrate Judge and the Court.

       Class certification was equally hard fought. Plaintiffs moved for class certification on May 1,

2009 supported by a lengthy, fact-extensive memorandum and the opinions of three experts. Defendants

opposed class certification with exhaustive briefing and expert opinion.          Following the Court’s



                                     3
Case 2:08-md-01000-JRG Document 1603 Filed 07/12/11 Page 7 of 20 PageID #: 37520
certification of the class on September 7, 2010, the parties litigated virtually all aspects of the content

and form of class notice. In addition, Defendants have twice moved to decertify the class, and asked the

Sixth Circuit to take an interlocutory appeal of the class certification order.

       The intensity of litigation has increased as the trial approaches. Defendants filed six summary

judgment motions supported by extensive statements of fact. Plaintiffs opposed each motion with

equally extensive briefs and statements of fact. The parties subsequently filed eight wide-ranging

Daubert motions, and four additional objections to the Magistrate’s rulings on those motions. The

parties prepared and exchanged trial exhibits lists (totaling more than 5,000 exhibits) and deposition

designations (covering more than 100 depositions). More recently, nearly 70 motions in limine were

submitted to the Court, and two days of oral arguments heard on certain motions. In short, the parties

have vigorously contested every aspect of this litigation for four years as reflected by the nearly 1,600

entries on the Court’s docket.

       B.      The Proposed Settlement

       Plaintiffs and Dean have agreed that Dean will pay up to $140,000,000 over approximately four

years.1 (See Ex. A, Settlement Agreement ¶ 7.1.) Dean will make an initial payment of $60,000,000 into

an escrow account within five business day of the date of this Court’s preliminary approval order, and

then will pay up to $20,000,000 each year for four years within five business days of the anniversary of

the Court’s final approval of the settlement and entry of judgment and dismissal of all claims as to Dean.



1 The Settlement Agreement provides that the $140,000,000 settlement amount shall be reduced pro
rata for those Class Members who timely and validly requested exclusion from the Class as of the
Exclusion Date or such other deadline as the Court may set for opting out. The reduction with respect to
each timely and valid Class Member opt-out will be based on the percentage of that opt-out’s Class sales
relative to total Class sales; provided however that such reduction shall not apply if the opt-out is
permitted to opt back in by Order of the Court. (See Ex. A, Settlement Agreement ¶ 9.1.)



                                     4
Case 2:08-md-01000-JRG Document 1603 Filed 07/12/11 Page 8 of 20 PageID #: 37521
(See id.) These deferred payments are supported by a line of credit (See id.)

       In return, Class Members will release Dean from any and all claims that were or could have been

asserted arising out of or relating in any way to any conduct alleged in this case. (See id. ¶¶ 6.1 & 6.2.)

The Settlement Agreement, however, does not release any Class Member’s claim against the remaining

Defendants in this case, nor does it release the claims of Class Members who timely and validly

requested exclusion from the Class as of June 17, 2011, unless they are allowed to opt back in by order

of the Court. (See id. ¶¶ 1.2 & 9.2.)

       In order to resolve the greatest number of potential claims, the Settlement Agreement permits

Class Members who previously opted out of the Class to apply to the Court for reinstatement to the

Class. (See id. ¶¶ 4.3 & 9.1.) Because the initial opt out period expired less than a month ago, the

Settlement Agreement does not provide a second opt-out period for Class Members.

       The Settlement Agreement provides this Court jurisdiction over the implementation,

enforcement, and performance of the Settlement. (See id. ¶ 13.2.) As reflected in the proposed Notice

(see Ex. B), Plaintiffs propose that Settlement proceeds be distributed proportionally among Class

Members who file claims.

III.   THE COURT SHOULD GRANT PRELIMINARY APPROVAL TO THE SETTLEMENT
       AGREEMENT

       A.      Legal Standard for Granting Preliminary Approval

       “Being a preferred means of dispute resolution, there is a strong presumption by courts in favor

of settlement.” In re Telectronics Pacing Sys. Inc., Accufix A Trial “J” Leads Prods. Liability Litig., 137

F. Supp. 2d 985, 1008 (S.D. Ohio 2001). This is particularly true in large, complex cases, and “the law

generally favors and encourages the settlement of class actions.” Franks v. Kroger Co., 649 F.2d 1216,




                                     5
Case 2:08-md-01000-JRG Document 1603 Filed 07/12/11 Page 9 of 20 PageID #: 37522
1224 (6th Cir. 1981); see also In re Cardizem CD Antitrust Litig., 218 F.R.D. 508, 530 (E.D. Mich.

2003) (“There is a strong public interest in encouraging settlement of complex litigation and class action

suits because they are notoriously difficult and unpredictable and settlement conserves judicial

resources.”).

       The Court’s preliminary approval “is not a fairness hearing; its purpose, rather, is to ascertain

whether there is any reason to notify the class members of the proposed settlement and to proceed with a

fairness hearing.” Armstrong v. Bd. of Sch. Directors, 616 F.2d 305, 314 (7th Cir. 1980) (footnote

omitted). In determining whether preliminary approval is warranted, the sole issue before the Court is

whether the proposed settlement is within the range of what might be found fair, reasonable and

adequate, so that Class Members should be given notice of the settlement. See MCL 4th § 13.14, at 173.

(“First, the [court] reviews the proposal preliminarily to determine whether it is sufficient to warrant

public notice and a hearing. If so, the final decision on approval is made after the hearing.”). The Court

should also ensure that the Settlement Agreement is the product of arm’s-length negotiation between

counsel, and not subject to any collusion or undue influence by the Named Plaintiffs.

       In evaluating the fairness of the settlement for final approval, the range of fairness is determined

by “[s]everal factors [which] guide the inquiry: (1) the risk of fraud or collusion; (2) the complexity,

expense and likely duration of the litigation; (3) the amount of discovery engaged in by the parties; (4)

the likelihood of success on the merits; (5) the opinions of class counsel and class representatives; (6)

the reaction of absent class members; and (7) the public interest.” UAW v. General Motors Corp., 497 F.

3d 615, 631 (6th Cir. 2007). When assessing the parties’ legal dispute, the Court should “not … decide

whether one side is right or even whether one side has the better of these arguments.... The question

rather is whether the parties are using settlement to resolve a legitimate legal and factual legal dispute.”




                                      6
Case 2:08-md-01000-JRG Document 1603 Filed 07/12/11 Page 10 of 20 PageID #: 37523
Id. at 632.

        Based on these factors, the settlement falls well within the range of fairness warranting

preliminary approval, and the long history of litigation belies any suggestion of collusion or undue

influence to settle.

        B.      The Proposed Settlement Should Be Preliminarily Approved So That Class
                Members Can Decide Whether to Accept It

                1.     The Settlement Agreement Resulted from Vigorous, Arm’s Length
                       Negotiations Between Experienced, Capable Counsel

        Vigorous arm’s-length negotiations between seasoned counsel protect against collusion and

advance the fairness considerations of Rule 23(e), and settlements resulting from such negotiations are

entitled to deference from the Court. See In re Broadwing, Inc. ERISA Litig., 252 F.R.D. 369, 375 (S.D.

Ohio 2006) (“The Court gives significant weight to the belief of experienced counsel that the settlement

is in the best interest of the class … [where] the settlement was non-collusive and [was] reached through

arms-length negotiation.”). Such deference is especially appropriate after the parties have engaged in

lengthy and thorough fact-finding through extensive discovery. See In re Relafen Antitrust Litig., 231

F.R.D. 52, 73 (D. Mass. 2005).

        The settlement agreement here was reached after the completion of extended, extensive

discovery conducted by able counsel for both parties. The Class was represented by counsel with

extensive experience both prosecuting and defending complex antitrust class actions, who had gained a

deep understanding of the facts and legal issues of the case during the four years of litigation.

Defendants were similarly represented by talented and knowledgeable counsel with significant

experience defending complex cases. These facts weigh in favor of preliminary approval. See, e.g., In re

Cardizem CD Antitrust Litig., 218 F.R.D. at 526 (finding that extensive discovery conducted by counsel




                                      7
Case 2:08-md-01000-JRG Document 1603 Filed 07/12/11 Page 11 of 20 PageID #: 37524
weighed in favor of approving settlement).

       Moreover, the proposed settlement resulted from intensive, arm’s-length negotiations. This

settlement arose only after extended negotiations and within a mediation process that has been ongoing

for several years. The parties’ mediation was aided and closely monitored by mediator W.J. Michael

Cody. Nothing in the course of the negotiations or in the substance of the proposed settlement presents

any reason to doubt its fairness. This also weighs in favor of preliminary approval. See id. at 530 (fact

that settlement arose after the “Plaintiff … and Defendants [engaged] in a mediation process that

consumed almost one year” supported approval).

               2.      The Proposed Settlement Is Within the Range of Possible Approval By the
                       Court as Fair, Reasonable, and Adequate

       In deciding whether to grant preliminary approval, the Court must decide whether the settlement

falls into the range of what might be found fair, reasonable and adequate, so that notice of the proposed

settlement should be given to Class Members and a hearing scheduled to consider final settlement

approval. See MCL 4th § 13.14; see also In re Cardizem CD Antitrust Litig., 218 F.R.D. at 530. “The

determination of what constitutes a ‘reasonable’ settlement is not susceptible of a mathematical equation

yielding a particularized sum. Rather, in any case, there is a range of reasonableness with respect to a

settlement.” In re Broadwing, Inc. ERISA Litig., 252 F.R.D. at 373.

       A recovery of up to $140,000,000 million from Dean would be an excellent result for the Class.

As an initial matter, it constitutes a substantial amount in absolute terms, even for an antitrust litigation.

See, e.g., In re Relafen Antitrust Litig., 231 F.R.D. at 64 (approving $75 million settlement as a

significant recovery for Plaintiffs). That figure also represents a significant percentage of the damages

claimed by Plaintiffs against all Defendants. Dr. Gordon Rausser opined that the Class has sustained




                                      8
Case 2:08-md-01000-JRG Document 1603 Filed 07/12/11 Page 12 of 20 PageID #: 37525
approximately $600 million in damages, so the settlement against Dean would allow Class Members to

recover approximately 25% of the total amount of damages claimed on behalf of the Class.2 Such a

recovery is well within the range approved by other courts. See id. (noting that settlements obtaining

26% recovery are reasonable); Menkes v. Stolt-Nielsen S.A., 2010 U.S. Dist. LEXIS 94184, at *63-66

(D. Conn. Sept. 10, 2010) (preliminarily approving settlement that represented approximately eight

percent of the maximum recoverable damages for all class members). Indeed, even if the settlement

were a smaller percentage of total damages, “courts have determined that a settlement can be approved

even if the benefits amount to a small percentage of the recovery sought . . . And, there is no reason, at

least in theory, why a satisfactory settlement could not amount to a hundredth or even a thousandth part

of a single percent of the potential recovery.” Lazy Oil, Co. v. Witco Corp., 95 F. Supp. 2d 290, 339

(W.D. Pa. 1997) (internal quotation omitted). Moreover, the settlement against Dean allows Class

Members further recovery against other Defendants.

       In any case, at this point the Court need not answer the ultimate question of whether the

Settlement is fair, reasonable and adequate. The Court is only being asked to permit notice of the terms

of the settlement to be sent to the Class Members, and to schedule a hearing, pursuant to Federal Rule of

Civil Procedure 23(e), to consider any views expressed by Class Members, the fairness of the settlement,

the plan of allocation, and Class Counsel’s request for an award of fees and expenses. See 5 James Wm.

Moore, Moore’s Federal Practice 23.85 [3], at 23-353 to 23-354 (3d ed. 1999). It would be difficult to

imagine that Class Members should not be informed of a potential $140,000,000 settlement.


2
  In evaluating the settlement in terms of the overall claimed damages in an antitrust suit, it is not
necessary for the Court to consider the possibility of treble damages. See Rodriguez v. West Publishing
Corp., 563 F.3d 948, 955 (9th Cir. 2009).




                                      9
Case 2:08-md-01000-JRG Document 1603 Filed 07/12/11 Page 13 of 20 PageID #: 37526
               3.      The Settlement Is Particularly Beneficial Given the Expense, Uncertainty,
                       and Risks of Taking the Case to Trial

       The settlement is particularly favorable to the Class Members given the risks of taking antitrust

cases to trial. Without entering into a settlement, “[t]he prospect of a trial necessarily involves the risk

that Plaintiffs would obtain little or no recovery.” In re Cardizem CD Antitrust Litig., 218 F.R.D. at 523.

Antitrust cases are notoriuosly difficult to prosecute: “[s]uffice it to say, courts have found that antitrust

actions generally present complex, novel issues, and that plaintiffs can rarely guarantee recovery at

trial.” Columbus Drywall and Insulation, Inc. v. Masco Corp., 258 F.R.D. 545, 559 (N.D. Ga. 2007); see

also In re Cardizem CD Antitrust Litig., 218 F.R.D. at 523 (noting risks inherent in taking an antitrust

case to trial); In re Relafen Antitrust Litig., 231 F.R.D. at 73 (same). Indeed, antitrust litigation

necessarily involves complicated economic issues that, at “trial would undoubtedly become a battle of

the experts, with esoteric economic principles applied to” a complex market. Id. Due to that complexity,

“[a]cceptance of expert testimony is always far from certain, no matter how qualified the expert.” In re

Broadwing, Inc. ERISA Litig., 252 F.R.D. at 373.

       This case would be no less complex or risky to try. Only last month the Court expressed concern

that Plaintiffs may have difficulty proving the relevant geographic market, and the Court’s determination

that Defendants’ alleged acts are not per se unlawful may put Plaintiffs to the burden of proving a rule of

reason case.    Against this background, the proposed settlement should be presented to the Class

Members for their evaluation. In addition, even if Plaintiffs were to prevail against Dean at trial, Class

Members could wait years for the parties to exhaust their appeals. See Leonhardt v. Arvinmeritor, Inc.,

581 F. Supp. 2d 818 (E.D. Mich. 2008) (noting that benefits of settlement in complex litigation include

avoiding the delay and uncertainty of any appeals). The settlement, however, provides more immediate




                                     10
Case 2:08-md-01000-JRG Document 1603 Filed 07/12/11 Page 14 of 20 PageID #: 37527
relief.

          Thus, the inherent risks in taking an antitrust case to trial against Dean, as well as the delay

caused by the inevitable subsequent appeal, strongly favor approval of the settlement.           Although

Plaintiffs are confident about their case, “[e]xperience proves that, no matter how confident trial counsel

may be, they cannot predict with 100% accuracy a jury's favorable verdict, particularly in complex

antitrust litigation.” In re Cardizem CD Antitrust Litig., 218 F.R.D. at 523. In light of those risks, the

settlement is well within the range of being fair, reasonable and adequate and should be preliminarily

approved.

IV.       THE PROPOSED NOTICES SHOULD BE APPROVED BY THE COURT

          Rule 23 requires that notice of a settlement be “the best notice that is practicable under the

circumstances, including individual notice to all members who can be identified through reasonable

effort.” Fed. R. Civ. P. 23 (c)(2)(B); see 4 Alba Conte & Herbert Newberg, Newberg on Class Actions

(“Newberg”) § 8.2.

          The content of the proposed Notices satisfies Rule 23, which requires that settlement notices

“‘fairly apprise the prospective members of the class of the terms of the proposed settlement’ so that

class members may come to their own conclusions about whether the settlement serves their interests.”

UAW, 497 F.3d at 630 (quoting Grunin v. Int’l House of Pancakes, 513 F.2d 114, 122 (8th Cir. 1975)

(internal quotation marks omitted)). The proposed Notices accordingly inform class members (1) of the

nature of the pending litigation, (2) of the settlement’s general terms and effects upon Class Members,

(3) that complete information is available from the court files, and (4) that any Class Member may

appear and be heard at the Fairness Hearing. See, e.g., In re Gen. Tire & Rubber Co. Sec. Litig., 726

F.2d 1075, 1086 (6th Cir. 1984) (upholding notice that “described the terms of the settlement, the




                                     11
Case 2:08-md-01000-JRG Document 1603 Filed 07/12/11 Page 15 of 20 PageID #: 37528
reasons for [class representatives’ decision to settle], the legal effect of the settlement and the rights of

the [class members] to voice their objections”); see also Newberg § 11.53 at 162-65 (explaining

requirements of class settlement notices, and collecting authorities).

       Plaintiffs also propose that the Notices be provided to the Class Members in a manner similar to

the Court-approved dissemination of notice of class certification. The Notice will be sent by U.S. Mail

to 7,388 addresses of potential class members that Plaintiffs identified in Defendant and third-party

records obtained during discovery, plus any potential class members identified since that mailing. This

dissemination of the Notice by U.S. Mail satisfies Rule 23, as the Court previously recognized. (See

1/19/11 Order at 20, Dkt No. 1255 (explaining that “notice to class members whose addresses are known

by United States mail is the “best notice practicable,” see Eisen v. Carlisle & Jacquelin, 417 U.S. 156,

174-77 (1974), and defendants have not suggested any alternative method of notice.”).) In addition, the

Summary Notice will be published following preliminary approval in the first available issue of Hoard’s

Dairyman, a dairy farm trade magazine with a circulation of more than 68,000.2 This dissemination of

notice by publication satisfies Rule 23 because, as the Court’s Order on notice recognized, supplemental

notice in “publications widely disseminated to dairy farmers is the ‘best notice practicable’ apparent

under the circumstances of this case.” (1/19/11 Order at 20, Dkt No. 1255) (citing In re Warfarin

Sodium Antitrust Litig., 391 F.3d 516, 536 (3d Cir. 2004).) With the Court’s permission, the Notices –

as well as this motion – would also be posted on the class action website maintained by Rust and


2
  Although the Court’s class notice plan included publication in two dairy publications, Plaintiffs
respectfully submit that supplemental publication of this proposed settlement in Hoard’s is sufficient to
satisfy Rule 23 and Due Process requirements given the extensive number of addressees that will receive
direct notice by U.S. Mail, the broad circulation of Hoard’s, the existence of a class action website, the
anticipated coverage of this settlement by other media, and the substantial cost of publishing notice in
additional publications.



                                     12
Case 2:08-md-01000-JRG Document 1603 Filed 07/12/11 Page 16 of 20 PageID #: 37529
referenced in the Notices.

V.     PROPOSED SCHEDULE OF EVENTS

       In connection with preliminary approval of the settlement, the Court must set a final approval

hearing date, dates for mailing and publication of the Notices, and deadlines for requesting permission to

opt back in to the Class, objecting to the settlement and submitting claims. After consultation with

Dean, Plaintiffs propose the following schedule:


      Notice to Class by U.S. Mail                   10 days after entry of the Order granting
                                                     Preliminary Approval
      Summary Notice published                       As soon as practicable given publication
                                                     deadlines
      Last day for potential Class Members to 14 days before Fairness Hearing
      request permission to opt back in to the Class
      Last day for Class Members to object to the 14 days before Fairness Hearing
      Settlement
      Last day for Class Members to return claims 14 days before Fairness Hearing
      forms (including those potential members
      seeking permission to opt back in)
      Class Counsel file motion for final approval 7 days before Fairness Hearing
      and response to any objections filed
      Fairness Hearing                               A date at the Court’s convenience,
                                                     approximately 75 days after entry of the
                                                     Preliminary Approval Order

VI.    CONCLUSION

       For all the foregoing reasons, Plaintiffs respectfully request that the proposed settlement be

preliminarily approved as provided herein.




                                     13
Case 2:08-md-01000-JRG Document 1603 Filed 07/12/11 Page 17 of 20 PageID #: 37530
 Dated: July 12, 2011                     Respectfully submitted,

                                          /s/Robert G. Abrams
 Thomas C. Jessee, Esq.                   Robert G. Abrams, Esq.
 412 East Unaka Ave.                      Robert J. Brookhiser, Esq.
 Johnson City, TN 37601                   Gregory J. Commins, Jr., Esq.
 jjlaw@jesseeandjessee.com                Terry L. Sullivan, Esq.
 Liaison Counsel for Dairy Farmer Class   Baker & Hostetler LLP
                                          1050 Connecticut Ave., NW, Suite 1100
                                          Washington, DC 20036
                                          rabrams@bakerlaw.com
                                          rbrookhiser@bakerlaw.com
                                          gcommins@bakerlaw.com
                                          tsullivan@bakerlaw.com
                                          Lead Counsel for Dairy Farmer Class




                                     14
Case 2:08-md-01000-JRG Document 1603 Filed 07/12/11 Page 18 of 20 PageID #: 37531
                                    CERTIFICATE OF SERVICE

       I certify that on the 12th day of July, 2011, a true and correct copy of Dairy Farmer Plaintiffs’
Motion for Expediated Preliminary Approval of Proposed Settlement with Dean Foods Company was
served by operation of the electronic filing system of the U.S. District Court for the Eastern District of
Tennessee upon all counsel who have consented to receive notice of filings in the matters styled In re
Southeastern Milk Antitrust Litigation, MDL No. 1899.



                                                    /s/ Danyll W. Foix
                                                        Danyll W. Foix




Case 2:08-md-01000-JRG Document 1603 Filed 07/12/11 Page 19 of 20 PageID #: 37532
Case 2:08-md-01000-JRG Document 1603 Filed 07/12/11 Page 20 of 20 PageID #: 37533
